                         Case 4:08-cr-00337-BSM Document 203 Filed 04/01/11 Page 1 of 5
 ~A0245D         (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                            UNITED STATES DISTRICT COURTJ1JI
                                                                                                                         ,...MES
                                                                   Eastern District of Arkansas                         By:
                                                                                                                           ----.,7't4~tIk~.·
           UNITED STATES OF AMERICA                                                Judgment in a Criminal Case
                                   v.                                              (For Revocation of Probation or Supervised Release)
                      CHARLES JAMES

                                                                                   Case No. 4:08CR00337-04 BSM
                                                                                   USM No. 25342-009
                                                                                    Latrece Gray
                                                                                                            Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                   _S.:.,p_e_c....
                                                                            ia_I                   of the term of supervision.
o was found in violation of condition(s)                                                       after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                   Nature of Violation                                                                     Violation Ended
Special                                 Failure to complete residential re-entry center program.                           01/11/2011




       The defendant is sentenced as provided in pages 2 through                       5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
rs/ The defendant has not violated condition(s) _S;;Jpl:.e:;.;c:;.;.ia;;;;I:...-      and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2278                                03/30/2011

Defendant's Year of Birth:                1986

City and State of Defendant's Residence:                                                                     Signature of Judge
Maumelle, Arkansas
                                                                                   Brian S. Miller                                 U.S. District Judge
                                                                                                          Name and Title of Judge

                                                                                           '-<.-\.­ "Za\.\
                                                                                                                    Date
                      Case 4:08-cr-00337-BSM Document 203 Filed 04/01/11 Page 2 of 5
  AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                               Judgment - Page     2     of       5
  DEFENDANT: CHARLES JAMES
  CASE NUMBER: 4:08CR00337-048SM


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS




      rI The court makes the following recommendations to the Bureau of Prisons:
Defendant shall serve his term of imprisonment at FCI Camp, Forrest City, AR.




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D    at    _ _ _ _ _ _ _ _ _ D a.m.                      D p.m.    on
          D    as notified by the United States Marshal.

      rI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         r¥' before 2 p.m. on _0_7/_0_5_/2_0_1_1              _
          D    as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                   to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By                                                        _
                                                                                        DEPUTY UNITED STATES MARSHAL
                       Case 4:08-cr-00337-BSM Document 203 Filed 04/01/11 Page 3 of 5
 AD 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release

                                                                                                     Judgment-Page     3     of          5
 DEFENDANT: CHARLES JAMES
 CASE NUMBER: 4:08CR00337-04 8SM
                                                              SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of :
ONE (1) YEAR



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug
 tests thereafter as determined by the court.
 o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 'i/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
 'i/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 o      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
 o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
 5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant sh.all notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant shaJll).ot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            Without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
                   Case 4:08-cr-00337-BSM Document 203 Filed 04/01/11 Page 4 of 5
 AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 3C - Supervised Release

                                                                                        Judgment-Page   4   of     5
 DEFENDANT: CHARLES JAMES
 CASE NUMBER: 4:08CR00337-048SM

                                            SPECIAL CONDITIONS OF SUPERVISION

1. All general and standard conditions previously imposed remain in full force and effect.

2. The defendant shall participate under the guidance and supervision of the U.S. Probation Office, in a substance abuse
treatment program which may include testing, outpatient counseling, and lor residental treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.
                   Case 4:08-cr-00337-BSM Document 203 Filed 04/01/11 Page 5 of 5
AO 2450    (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 5 - Criminal Monetary Penalties

                                                                                                             Judgment - Page       5   of       5
DEFENDANT: CHARLES JAMES
CASE NUMBER; 4:08CR00337-048SM
                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                   Assessment                                                  Fine                                  Restitution
TOTALS         $ 0.00                                                         $ 0.00                               $ 0.00


ell] The determination of restitution is deferred until -----. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must
     be paid before the United States is paid.

Name of Payee                                  Total Loss*                                   Restitution Ordered               Priority or Percentage




TOTALS                                    $:....-..             ----:;0..;.;.0;..;;0_              0.00
                                                                                         $
                                                                                             --------­
D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(0. All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the              D fine                   D restitution.
     D the interest requirement for the               D fine       D restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1l0A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
